                        Case 1:22-cr-10325-FDS
2-6   5HYLVHG86'&0$      Document 602-1 Filed 07/15/24 Page 1 of 2
Criminal Case Cover Sheet                                                           U.S. District Court - District of Massachusetts

Place of Offense:                        Category No.      I                     Investigating Agency                DEA

City    Saugus                                5HODWHG&DVH,QIRUPDWLRQ
                                               6XSHUVHGLQJ,QG,QI X               &DVH1R 22-10325
County       Essex
                                               6DPH'HIHQGDQW X                 1HZ'HIHQGDQW
                                               0DJLVWUDWH-XGJH&DVH1XPEHU
                                               6HDUFK:DUUDQW&DVH1XPEHU 22-5383-JGD
                                               55IURP'LVWULFWRI
Defendant Information:
                                               ,VWKLVFDVHUHODWHGWRDQH[LVWLQJFULPLQDODFWLRQSXUVXDQWWR5XOH
                                                K ",I\HVFDVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                <HV       ✔ 1R
'HIHQGDQW1DPH       Anthony BRYSON                                                                       -XYHQLOH      G <HV            ✔ 1R
                                     ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU              G <HV            ✔ 1R
$OLDV1DPH
$GGUHVV             Billerica, Mass.
                      1989 661 ODVW BBBBB
%LUWKGDWH <URQO\ BBBBBB                        6H[BBBBBB         5DFHBBBBBBBBBBBBBBB           1DWLRQDOLW\BBBBBBBBBBBBBBBBBB

Defense Counsel if Nnown:         Jason Benzaken                                $GGUHVV

%DU1XPEHU

U.S. Attorney Information

$86$       Evan D. Panich                                           %DU1XPEHULIDSSOLFDEOH 681730

Interpreter:              <HV     ✔ 1R                            /LVWODQJXDJHDQGRUGLDOHFW

Victims:            <HV     ✔ 1R       ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                 G <HV        ✔
                                                                                                                                           1R

Matter to be SEALED:                  <HV      ✔ 1R
    :DUUDQW5HTXHVWHG               5HJXODU3URFHVV              ✔,Q&XVWRG\

/Rcation Status:      Wyatt

$rrest Date          10/25/2022

✔ $OUHDG\LQ)HGHUDO&XVWRG\DVRI        Oct. 25, 2022                                LQ    Wyatt                                   
    $OUHDG\LQ6WDWH&XVWRG\DW                                                   6HUYLQJ6HQWHQFH                      $ZDLWLQJ7ULDO
    2Q3UHWULDO5HOHDVH    2UGHUHGE\                                               RQ

Charging Document:                    &RPSODLQW               ✔ ,QIRUPDWLRQ
                                                              G                                          ,QGLFWPHQW

Total # of Counts:                 G 3HWW\                    G 0LVGHPHDQRU                           ✔ )HORQ\ 1

                                       &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔        I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.

'DWH 7/15/2024                             6LJQDWXUHRI$86$ /s/ Evan D. Panich
                       Case 1:22-cr-10325-FDS Document 602-1 Filed 07/15/24 Page 2 of 2
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District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant               Anthony BRYSON
                                                                         U.S.C. Citations
                 Index Key/Code                                     Description of Offense Charged                                      Count Numbers

6HW
          21 USC s. 841(a)(1), (b)(1)(B)(viii)         Possession with intent to distribute more than 50 grams of methamphetamine
                                                                                                                                    1
6HW
          21 USC s. 853                                Drug forfeiture allegation
6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

 $'',7,21$/,1)250$7,21




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
